Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 1 of 48




           EXHIBIT FIVE
Uzi 9mm Full Auto Machine Gun for sale at Gunsamerica.com: 975850486                                                                                                                                 5/19/23, 2:18 PM
                                     Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 2 of 48

                                                                                  (https://holosun.com/products/laser-illuminator/p.id/p.id.html?
                                                              utm_source=Guns+America&utm_medium=banner+ads&utm_campaign=P.ID)


Uzi 9mm Full Auto Machine Gun
For Sale from: First Stop Gun (/Search.aspx?lid=3310) (! FFL) | Positive feedback: 99% View (/ViewFeedback.aspx?ListerID=3310) | " Verified Seller
| 14870 Completed Sales                View Sellers Items (/Search/Lister/3310/First_Stop_Gun)




                                                                                                                           ( THIS SELLER REQUIRES THAT YOU USE OUR VERIFIED ADDRESS
    (/UserImages/3310/975850486/wm_16542018.webp)                                                                      (/UserImages/3310/975850486/wm_16542019.webp)
                                                                                                                           PAGE (/ADMINISTRATION/USER/REGISTRATION.ASPX?
                                                                                                                           T=DIVVERIFIED) TO CONFIRM YOUR BASIC IDENTITY BEFORE ANY
                                                                                                                           CONTACT REGARDING THIS LISTING.


                                                                                                                                $16,995.00                                                     ' Add To Cart


                                                                                                                                ( Please Login/Register to Order

                                                                                                                                    Login (/Login.aspx?FoRet=1&ReturnTo=%2f975850486%2fUzi-
                                                                                                                                              9mm-Full-Auto-Machine-Gu.htm) or Register

Uzi 9mm Full Auto Machine Gun                                                                                                    (/administration/user/register.aspx?ReturnTo=%2f975850486%2fUzi-
                                                                                                                                                9mm-Full-Auto-Machine-Gu.htm) to buy
For Sale from: First Stop Gun (/Search.aspx?
lid=3310) |
Positive feedback: 99% View                                                                                                Shipping: $175.00
(/ViewFeedback.aspx?ListerID=3310) |                                               enter your search here                                                  )      * AdvancedLogin
                                                                                                                           Accepted Payment Methods:                         (https://www.gunsamerica.com/Login.aspx)
(/)Verified Seller | 14870 Completed Sales
"
                                                                                                                                                        (/AdvancedSearch.htm)
 View Sellers Items                                                                                                        Returns: 3 Days
 (/Search/Lister/3310/First_Stop_Gun)                                                                                                                                        Register
                                                                                                                                                                             (/administration/user/Register.aspx)

                                                                                                                                                                             '    Cart (/Listings/Common/Cart.aspx)


 Rifles (/rifles.htm)   Pistols (/pistols.htm)    Shotguns (/shotguns.htm)      Tactical (/tactical.htm)   Revolvers (/revolvers.htm)   Accessories (/Search/Category/2/4/Non-Guns.htm)

 Ammo (/Search/Category/796/Non-Guns/Ammunition.htm)              Browse Categories (/BrowseSpecificCategory/Parent/Guns/ViewAll.aspx)

 + Buying (/Administration/User/Dashboard.aspx)          + Selling (/Administration/Listings/PostListing/SelectCategory.aspx)

 , Help (https://help.gunsamerica.com/)          News & Reviews (https://www.gunsamerica.com/digest/)        #HUNT365 (/digest/hunt365/)                  (https://spr-ar.com/r/5472)
Home (/Default.htm) >> Guns (/Search/Category/1/Guns.htm) >> Pistols (/Search/Category/3/Guns/Pistols.htm) >>

   Description:
Class 3 Pistols (/Search/Category/160/Guns/Pistols/Class-3-Pistols.htm) >> Class 3 Subguns (/Search/Category/161/Guns/Pistols/Class-3/Class-3-Subguns.htm) >>
   Uzi 9mm fully automatic 9mm machine gun,Group Industries,transferable on a form 3 or form 4,excellent condition with box,3 magazines and sling.
View Listing
   This is our 47th year in business. We offer 90 day layaways with 20% down. No return on layaways. Firearms will need to be transferred through a FFL dealer.
   Prices reflect a cash discount. There will be 3% added to credit card sales. We trade for gold and silver. THANK YOU!




   Condition: Used, Minor Wear                              Item #: 975850486                                       Location: SD                                      Share:

   Caliber: 9mm Luger                                       Stock No.: 222774                                       Trades Accepted: Yes                              # $
                                                                                                                                                                      (http://www.facebook.com/share.php?
                                                                                                                                                                      u=http%3a%2f%2fwww.gunsamerica.com%2fLis
                                                                                                                                                                         %   (https://twitter.com/share)        &
                                                                                                                                                                      (mailto:?subject=Check out this link
                                                                                                                                                                      from


https://www.gunsamerica.com/975850486/Uzi-9mm-Full-Auto-Machine-Gu.htm                                                                                                                                      Page 1 of 2
Uzi 9mm Full Auto Machine Gun for sale at Gunsamerica.com: 975850486                                                                                     5/19/23, 2:18 PM
                                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 3 of 48
                                                                                                                               GunsAmerica.com&body=Uzi+9mm+Full+Auto+M


     Shipping Notes: See Description
     We Sell new and used firearms,high quality optics.We have over 3000 guns in stock,this is our 40th year in business. We also trade in gold,silver and rare
     coins.Prices listed are discounted for cash,please add 3% for credit cards.




    Items You've Viewed Recently




      Street Sweeper 12ga 2
      (/999804399/Street-
      34" 18" wbox Class...
      Sweeper-
      (/999804399/Street-
      12ga-2-
     $3495.00
      Sweeper-12ga-2-34-18-
      34-18-
      wbox-Class-III.htm)
     SELLER:
      wbox- First
     Stop Gun (FFL
      Class-
     Dealer)
       III.htm)
MC ok || Li Mc HIT || || LP Mc HIT ||



BUYER LINKS                                     SELLER LINKS                          DEALER LINKS                              HELPFUL LINKS

 Buy Guns (/Login.aspx)                 Sell Guns                                  Create a Website (/LiveStoreFronts/)     Help
                                        (/Administration/Listings/PostListing/SelectCategory.aspx)                          (https://help.gunsamerica.com/)
 Order History                                                                     (/Administration/User/RegistrationComplete.aspx)
 (/Administration/Buying/MyCheckout.aspx)My Seller Details                                                                  Auctions Ending Soon (/Auctions/)
                                        (/Administration/User/ListerDetails.aspx) Stocking Dealer Services
 Upgrade My Account                                                                (/stockingdealers.htm)                   Report a BUG
 (/MembershipLevel.aspx)                Selling Fees (/fees.aspx)                                                           (https://help.gunsamerica.com/contact/)

 Get Verified                               Selling Terms & Conditions                                                           Terms & Conditions
 (/Administration/User/VerifyIdentity.aspx) (/SellerTerms.aspx)                                                                  (/termsandconditions.aspx)

 FFL Search (/FFLSearch.htm)                                                                                                     Privacy Policy
                                                                                                                                 (https://help.gunsamerica.com/kb/privacy-
 Browse All Categories                                                                                                           policy/)
 (/BrowseSpecificCategory/Parent/Guns/ViewAll.aspx)




© 1997-2023 GunsAmerica.com LLC All                                                               . (//www.youtube.com/user/GunsAmerica) - (/XMLFeeds.htm)
rights Reserved.                                                                            0 (//www.facebook.com/gunsamerica) / (//twitter.com/GunsAmerica)




https://www.gunsamerica.com/975850486/Uzi-9mm-Full-Auto-Machine-Gu.htm                                                                                            Page 2 of 2
5/19/23, 3:24 PM                                                  Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 4 of 48
                                                                                                   972-292-7678               range@riflegear.com




    Range • Retail • Training
                                             Home    Range    Rentals      Memberships           Training      Shop       FAQs       Contact Us




                                                         RENTALS

                                                                  RENTALS

                                               MACHINE GUN RENTALS

 Ride the lightning at RifleGear with our full-auto inventory. Whether you want to spice up a corporate event or just add an extra layer of
 fun to your range trip, we have everything you need.


 Stay tuned as we continue to grow our full-auto offerings!




   Belt Fed Machine Guns
     FN M249 SAW (PARA)

                                                                               The FN M249 SAW has been a mainstay throughout the
                                                                               U.S. military since 1986 and is currently in service in
                                                                               more than 30 countries. Chambered in 5.56x45mm, the
                                                                               M249 is an open-bolt, gas operated firearm that is
                                                                               capable of firing 775 rounds per minute. Our PARA
                                                                               model was designed with airborne forces is mind.
                                                                               Sporting a 13.7-inch barrel and collapsing stock, it is
                                                                               shorter and lighter than the regular M249. Even though
                                                                               the PARA model is lighter, it is still easily controlled and is
                                                                               sure to provide a lot of added fun to any range trip!




      Rental Price $60 (per 2 shooters, ammo not included)



     DS ARMS RPD




https://www.riflegearrange.com/machine-gun-rentals                                                                                                  1/6
5/19/23, 3:24 PM                                             Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 5 of 48
                                                                          Developed in the mid-1940’s, the RPD is a Soviet belt-fed
                                                                          light machine gun that is chambered in the popular
                                                                          7.62x39mm. It was meant to replace the previous DP
                                                                          machine gun which had become to heavy and
                                                                          cumbersome. It utilizes a gas operated long stroke piston
                                                                          operating system and spits out about 650 rounds per
                                                                          minute. However, the rate of fire does feel significantly
                                                                          faster than that when you get behind it. If you are looking
                                                                          to shoot one of the most widely used and popular light
                                                                          machine guns of the 20th century, look no further than the
                                                                          RPD!


      Rental Price $60 (per 2 shooters, ammo not included)


     M60

                                                                          Adopted by the U.S. Military in 1957, The M60 is a belt-
                                                                          fed medium machine gun that has served with every
                                                                          branch of the U.S. Armed Forces as well as other nations.
                                                                          It was commonly referred to as “The PIG” due to its bulky
                                                                          and heavy nature. With a rate of fire hovering between
                                                                          550 & 650 rounds per minute, the M60 is easily
                                                                          controllable even though it is chambered in a larger
                                                                          caliber cartridge. If you are looking to shoot a belt-fed
                                                                          machine gun the M60 is a great starting point.




      Rental Price $60 (per 2 shooters, ammo not included)



     IWI NEGEV NG5 Light Machine Gun
     *Temporarily Down For Maintenance*

                                                                          The NEGEV NG5 is a light machine gun chambered in
                                                                          5.56 NATO developed by the Israeli firearm
                                                                          manufacturer, Israel Weapon Industries (IWI). It is
                                                                          compact, lightweight and extremely reliable in hostile
                                                                          conditions. The NG5 has been battle proven by the Israeli
                                                                          Defense Forces and numerous other military and police
                                                                          agencies across the world. If you are looking for a
                                                                          machine gun with light recoil and high rate of fire, look no
                                                                          further than the Negev NG5.




https://www.riflegearrange.com/machine-gun-rentals                                                                                       2/6
5/19/23, 3:24 PM                                             Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 6 of 48
      Rental Price $60 (per 2 shooters, ammo not included)




     Select Fire AR-15
   Machine Guns                                                           Often referred to as “America’s Rifle”, the AR-15 is a
                                                                          lightweight and modular firearm typically chambered in
                                                                          5.56 NATO. It was born out of the original ArmaLite Rifle
                                                                          design, which itself is a scaled-down version of the AR-10.
                                                                          Our select fire variant features both semi-automatic and
                                                                          automatic firing modes. The soft recoil impulse and
                                                                          medium rate of fire makes for an easily controllable and
                                                                          enjoyable range experience.




      Rental Price $50 (per 2 shooters, ammo not included)




     IWI Tavor X95

                                                                          The Tavor X95 is a next generation assault rifle
                                                                          manufactured by Israeli Weapon Industries (IWI). It was
                                                                          developed in close cooperation with elite units of the
                                                                          Israeli Defense Force and serves as an improved version
                                                                          of the highly touted Tavor SAR. The X95 is chambered in
                                                                          5.56 NATO and is of bullpup design, making for an
                                                                          extremely compact and maneuverable package. With a
                                                                          rate of fire in the ballpark of 1000 rounds a minute it
                                                                          makes for quite the range trip!




      Rental Price $50 (per 2 shooters, ammo not included)




     Steyr AUG




https://www.riflegearrange.com/machine-gun-rentals                                                                                      3/6
5/19/23, 3:24 PM                                             Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 7 of 48
                                                                          The Steyr AUG is one of the most recognizable bullpup
                                                                          rifles in the world. It is Austrian designed and chambered
                                                                          in 5.56 NATO. It’s bullpup design makes it both compact
                                                                          and highly maneuverable. The AUG utilizes a
                                                                          conventional gas piston operated action that fires from a
                                                                          closed bolt position. At its inception, the AUG utilized a
                                                                          high level of advanced firearm technology, employing the
                                                                          extensive use of polymer and aluminum parts. With a rate
                                                                          of fire between 650 and 800 rounds per minute, the AUG
                                                                          is controllable and incredibly fun to shoot!




      Rental Price $50 (per 2 shooters, ammo not included)



     FN P90 (5.7x28mm)

                                                                          The FN P90 submachine gun is a compact, lightweight
                                                                          weapon chambered in the small, yet powerful 5.7x28mm
                                                                          cartridge, making it the ideal Personal Defense Weapon.
                                                                          Featuring a compact bullpup design and fully
                                                                          ambidextrous controls, the P90 is an unconventional
                                                                          weapon with a futuristic appearance. Its design
                                                                          incorporates several innovations such as a unique top-
                                                                          mounted magazine. Its incredibly light recoil and rate of
                                                                          fire of almost 1,000 rounds per minute, ensures a great
                                                                          range trip!




      Rental Price $50 (per 2 shooters, ammo not included)




   Submachine Guns
     MP5 Submachine Gun




https://www.riflegearrange.com/machine-gun-rentals                                                                                     4/6
5/19/23, 3:24 PM                                             Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 8 of 48
                                                                          Undoubtedly the most popular submachine gun in the

                                                                          world, the MP5 is a compact and incredibly controllable

                                                                          firearm. It is chambered in 9mm and operates according

                                                                          to the proven roller-delayed blowback principle. The MP5

                                                                          has been adopted by 40 nations and hundreds of

                                                                          militaries, law enforcement, intelligence, and security

                                                                          organizations. It is light recoiling due to its operating

                                                                          system and can spit out 800 rounds a minute, making for

                                                                          quite an exciting range trip!




      Rental Price $40 (per 2 shooters, ammo not included)



     MP5 Submachine Gun

                                                                          The MP5K-PDW (Personal Defense Weapon) is a more
                                                                          compact and lightweight version of the standard MP5. It
                                                                          was developed by HK-USA is the 1990s for use with
                                                                          special operations aircraft and vehicle crews. Even though
                                                                          it is smaller than its big brother, it is still comparable in
                                                                          performance and even boasts a slightly higher rate of fire.
                                                                          Our model features a sturdy folding buttstock and
                                                                          foregrip, making it easy to control on its automatic setting.




      Rental Price $40 (per 2 shooters, ammo not included)




     CMMG Banshee 300 .45 ACP




https://www.riflegearrange.com/machine-gun-rentals                                                                                        5/6
5/19/23, 3:24 PM                                                        Machine Gun Rentals | RifleGear Range
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 9 of 48
                                                                                     The CMMG Banshee 300 is a lightweight and ultra-
                                                                                     compact personal defense weapon of AR15 design. The
                                                                                     Banshee utilizes CMMG’s patented radial delayed
                                                                                     blowback operating system. This kind of operating system
                                                                                     allows the Banshee to function reliably without the need
                                                                                     for a heavier bolt, buffer, or spring. Another benefit
                                                                                     associated with this operating system is that it allows
                                                                                     chamber pressure to fall before the bolt unlocks and cycles
                                                 4001 State Hwy 121           Hours of operation
                                                                                    the firearm. These benefits make the Banshee more
                                                 The Colony, TX 75056         10am – 8pm       Mon – Sat
                                                                              12pm controllable
                                                                                    – 7pm        and accurate in full auto.
                                                                                               Sunday

                                                      972-292-7678


                                                      range@riflegear.com     Employment Opportunities



      Rental Price $40 (per 2 shooters, ammo not included)



     B&T APC9 SD
                                              Copyright © 2020 - All Rights Reserved | Terms & Conditions
                                                                                     The APC9 SD submachine gun is one of the most fun
                                                                                     machine guns we currently have for rent! It combines the
                                                                                     reliability, accuracy and ambidextrous operation of the
                                                                                     APC9 SMG with the advantages of an integral
                                                                                     suppressor. The integral suppressor and ported barrel
                                                                                     reduce supersonic 9mm to subsonic speeds, making it
                                                                                     ridiculously quiet, even on full auto. With a rate of fire of
                                                                                     1,000 rounds per minute, this machine gun will definitely
                                                                                     bring a smile to your face!




      Rental Price $40 (per 2 shooters, ammo not included)




https://www.riflegearrange.com/machine-gun-rentals                                                                                                   6/6
Shop                            Book Tour                            303-993-8361
       Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 10 of 48




                   SHOOT A FN SCAR 16
                      Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 11 of 48




       Caliber/Gauge                             Capacity                                 Action
            5.56x45                                  30                                   Full Auto




Ever Wanted to Shoot a 5.56 SCAR?
Developed by FN in 2004, the FN SCAR (Special Operations Forces Combat Assault Riﬂe) family
of riﬂes has been used by over 20 countries. Although they have largely been phased out of service in
the US military, the SCAR riﬂes have proven to be incredibly popular in the civilian shooter market. The
SCAR-L (Light) – also known as the SCAR 16 or MK 16 – is chambered in 5.56x45mm NATO and uses
standard AR-style STANAG  magazines.
                     Case 1:23-cr-00123-SAG              Document 20-7 Filed 05/31/23 Page 12 of 48



                                                           BOOK NOW




                About Our Machine Gun Tours
  Family Friendly
  Machine Gun Tours has been helping individuals and groups experience shooting unique and full auto ﬁrearms since 2005. Our
  team is highly experienced and practices displined ﬁrearm safety in order to provide a safe family friendly experience.


  Educational & Exciting
  Each tour gun selected you will get a knowldege about the selcted ﬁrearms as well as shooting them to your heart's content.
  Additional ammunition is availbe at each tour in case you want a little more time behind the trigger. Our tours balance the fun of
  full auto, with the educational history of each gun.


  For Groups & Individuals
  We often work with families looking for fun as well as birthday's, corporate/team building, bachlor/bachlorette parties and
  individuals alike. The packages are booked per person, with group discounts for larger parties.


  Flexible Tour Packages
  We oﬀer our machine gun tours in 3, 5 and 10 gun packages. The standard tour including the MP5, M16 and AK47, while the 5
  and 10 gun pacakages come with more variety ﬁrearm selection. The 10 gun pacakage includes one belt fed machine gun in
  addtion to the hand held selections.
  Custom packages are availbe by request.


  Private Outdoor Ranges
  Tours are held in Bennett, Colorado. This is a private shooting range, with no other shooters. Explicit details of where to meet
  will be provided once a booking is complete.
                Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 13 of 48




                      Customer Reviews

                  The Only Firearms Dealer I Trust

 “I wanted to thank Machine Gun Tours and especially Kyle, who helped me in every way
and helped me make an informed decision in purchasing my ﬁrst Colorado handgun, the
   FN-5.2. We took it to the mountains and let me tell you. It’s the ﬁrearm of the future.
Thank you Kyle, you really took the time for us to do it right. Now you and your company
are the only ﬁrearms dealer, I trust or for that matter anyone else should either. And less
   expensive I might say. Don’t waste ur time, like I did with other dealers, go here ﬁrst.
               Kyle, Because of you. I’m going to come back for an AR next.”

                                         - Jack Martin
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 14 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 15 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 16 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 17 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 18 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 19 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 20 of 48
                      Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 21 of 48




                                                                         Home » Rental Guns » FN SCAR 16


                                                Shop:

AMMO          PISTOLS & HANDGUNS              SHOTGUNS            RIFLES & LONG GUNS


CLASS 3         SUPPRESSORS




Serving Denver Metro

Machine Gun Tours
12550 W Colfax Ave # 103
Lakewood, CO 80215
303-993-8361
sales@machineguntours.com

          GET DIRECTIONS


Open Monday-Saturday 10am to 6pm




Always Operate Responsibly
We are advocates of ﬁrearms safety and responsibility. ALWAYS handle your ﬁrearm safely, we are not responsible for
                       Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 22 of 48
improper or reckless use of sold products.

Follow ﬁrearms safety resources from the NSSF & NRA. These are universal rules to follow.


Get Updates

Inventory updates, specials & more.


 Name*


 Email*



   Subscribe




                                              ©2023 Machine Gun Tours All Rights Reserved.


                                                           Term & Conditions


                                                             Privacy Policy


                                                                Sitemap
[http://fnamerica.com/]
                          Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 23 of 48




  Machine Guns [https://fnamerica.com/military-all-products/machine-guns/] > FN® M249 SAW




  FN® M249 SAW
  Available for law enforcement and military.

                                                                                SPECS [HTTP://FNAMERICA.COM/#]




   [http://fnamerica.com/https://fnamerica.wpenginepowered.com/wp-
  content/uploads/2009/09/FN_M249_SAW_Rotators-1800x825.jpg]




  The FN® M249 SAW (also known as the FN MINIMI®) has been a mainstay throughout the U.S.
  military since 1986 and is currently in service in more than 30 countries. The M249 SAW is
  designed to be used on the front lines where it really matters, providing crucial support at the
  infantry squad/fire team level by providing highly accurate fire plus the maneuverability to take
  the objective. The ergonomically shaped polymer buttstock contains a hydraulic buffer that allows
  SAW gunners to maintain a high rate of fire with accuracy and effect.

  LE & Military pricing on request. [http://fnamerica.com/mailto:LE@fnamerica.com]

  *Product follows USA specifications
  *Military products available to U.S. sales only




  Related Products


    FN M249S®
    [http://fnamerica.com/https://fnamerica.com/products/rifles/fn-m249s/]


    FN® M240B
    [http://fnamerica.com/https://fnamerica.com/products/machine-guns/fn-m240b/?referrer=military]
[http://fnamerica.com/]
  SPECS                   Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 24 of 48


  CALIBER: 5.56x45mm
  OPERATION: Open-bolt
  WEIGHT: 17 lb.
  BARREL LENGTH: 20.5”
  OVERALL LENGTH: 40.75”
  OVERALL HEIGHT: 9.5”
  RATE OF FIRE: 775 RPM
  EFFECTIVE RANGE: 800m, point target
  MAXIMUM RANGE: 3600m, maximum range
  TWIST RATE: 1:7" RH
  TRIGGER PULL: 7.9 - 15.7 lb.
  COLOR: Matte black non-reflective finish


  RECEIVER

  Formed steel frame with claw extractor design

  Fixed, pivoting ejector plus side ejection of cases

  Top cover integrated MIL-STD-1913 mounting rail for sighting systems


  BARREL

  Changeable barrel

  Cold hammer-forged steel

  Hard chrome-plated bore and chamber


  STOCK

  Highly ergonomic polymer buttstock assembly with hydraulic recoil buffer system and non-slip buttplate


  OPERATING CONTROLS

  Crossbolt safety

  Curved trigger for improved finger position and control in rapid fire


  FEED SYSTEM

  Standard disintegrating link belt-fed
Under-mounted polymer ammunition container helps keep ammunition cleaner for reduced wear and added
reliability         Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 25 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 26 of 48
                                                                           !

                ! 610-235-6155




                                      FN Minimi M249
                                      SAW 5.56mm NATO
                                      Pre-May Dealer
                                      Sample Only Light
                                      Machine Gun w/
                                      Extras


                                      $85,000.00

                                      Categories Class 3 Weapons, Pre-May
                                                   Dealer Machine Guns




                                      Status: In-Stock /
                                      Please Call to
                 !                    Purchase
                                      This Chester County Armory listing is for an
                                      original Fabrique Nationale FN Minimi M249
                                      SAW 5.56mm NATO Pre-May Dealer Sample
                                     Only belt-fed light machine gun plus numerous
Case 1:23-cr-00123-SAG Document 20-7 factory  originalPage
                                      Filed 05/31/23   accessories.
                                                           27 of 48

                                     The FN Minimi (French for mini mitrailleuse or
                                     “mini machine gun”) was originally designed in
                                     the late 1970’s by Ernest Vervier as a lighter,
                                     more maneuverable light machine gun, that

                                     would have the ability to fire both belts and
                                     standard STANAG box magazines. It was
                                     officially adopted by the US Military in 1982,
                                     and renamed the M249 SAW (Squad Automatic
                                     Weapon). Based on its amazing reliability, ease-
                                     of-use and mission-specific adaptation (not to
                                     mention its accuracy and easy maintenance),
                                     the M249 quickly found itself being adopted by
                                     not only the US, but militaries around the
                                     world. Forty years later, it remains the LMG of
                                     choice for almost every military in the western
                                     world.

                                     This specific FN Minimi was originally
                                     fabricated and assembled in Belgium by
                                     Fabrique Nationale in their facility in the city of
                                     Herstal. It was imported into the US by Gun
                                     South of Birminghan, AL as a post-1968/pre-
                                     1986 Dealer Sample Only restricted light
                                     machine gun. It is currently set-up as Standard
                                     Model, featuring an 18.3″ barrel with fixed
                                     clubfoot stock, standard polymer forend, and
                                     includes the forend top cover. This model will
                                     also come with accessories to allow this LMG to
                                     be turned into a Para model, if so desired, which
                                     includes the shorter, 13.7″ barrel and a factory
                                     FN collapsible stock. Also included with
                                     purchase of this weapon will be a like-new
                                     Knight’s Armament Company forend and
                                     vertical grip, along with three total belt bags (
                                     one-200rd bag and two-100rd bags. One of the
                                     100rd bags is new in the original packaging).

                                     Overall, this weapon is in fantastic operational
                                     and cosmetic condition. The metalwork is
                                     excellent, with no dents, dings, gouges, or
                                     malformations of any type. The bolt face is crisp
                                     and clean and the bolt group shows very limited
                                     wear. The barrel remains bright and shiny with
                                     crisp, clean rifling. Cosmetically, the exterior
                                     painted finish notes only minor handling and
                                             use marks, most notably on the Picatinny optics
                                             rail, where a mount has been attached and
        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 28 of 48
                                             removed. The clubfoot stock and forend display
                                             only very minor handling marks. The
                                             accessories are mostly in new to like-new
                                             condition, including the telescoping stock and
                                             KAC forend. The included Para barrel is also in

                                             excellent condition, with crisp clean rifling, and
                                             only minor handling marks and finish wear.

                                             This Pre-May 1986 Dealer Sample Only light
                                             machine gun is available for purchase by Class 3
                                             FFL/SOT holders, only. It will come with all of
                                             the accessories displayed in the photos and
                                             listed in the description. This model is currently
                                             on an eForm capable Form 3. This is a Pre-May
                                             1986 model, so no law letter is necessary, and
                                             an individual licensed dealer may retain this
                                             weapon as a “keeper” model after surrender of
                                             their FFL and SOT.


                                             Share "                           Add to
                                                                               wishlist       !




                                             This Chester County Armory sale listing
                                             is for an original Fabrique Nationale FN
                                             Minimi M249 SAW 5.56mm NATO Pre-
           Description                       May Dealer Sample Only light machine
                                             gun plus accessories. This weapon is
                                             currently in-stock, in our possession, and
Additional information                       available for purchase on a Form 3.
                                             Please call us at 610-235-6155 to
                                             purchase or for additional information on
                                             this item.
                       Related Products
             Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 29 of 48




Heckler & Koch HK MP5A3 9x19mm W/ Navy 3-Position
Trigger Group Pre May Dealer Sample Machine Gun
$25,000.00




Auto-Ordnance Savage Arms Bridgeport Model 1928A1
Thompson .45acp Transferable Submachine Gun
             Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 30 of 48




Sig Sauer SRD556 5.56mm 1/2x28mm Direct Thread Rifle
Suppressor
$650.00




Original British Factory-Made Sten Mark II 9mm Pre-May
Dealer Sample Submachine Gun W/ Integral Suppressor
$11,500.00
                   Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 31 of 48




Chester County Armory is a Class Three/Title
One Federal Firearms Dealer, specializing in rare
and hard-to-find investment-grade firearms, with
a specific focus geared towards National
Firearms Act regulated items.




    Category


"   Home

"   NFA Firearms

"   Products

"   Current Auctions

"   Contact Us
  Contact Info
                 Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 32 of 48




Location: West Chester PA


Phone: 610-235-6155




    © 2023 Chester County Armory | Class Three Title One Federal Firearms Dealer |
   National Firearms Act regulated. All rights reserved. | Website By: Definitive Digital
"Street Sweeper" 12 Gauge Shotgun | Rock Island Auction                                       5/19/23, 2:20 PM
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 33 of 48

   !"#$%&'()*$*+&,(-./ 0 1&$(-234




                                                                                  Go to Lot

   LOT 519: "STREET SWEEPER" 12 GAUGE SHOTGUN
   !"#$%&'(")*+!),-./)0*1%""1)*2""3"%0)45)6&78")*"9$:;71<9&1$.)*=<187-)>"8$#1"%"?
   @(&##),,,ABC;)!"#1%7.1$D")!"D$."
   !"#$%&'()*$+,(-*.(/01(232/




   !"#$%&#'()*+$,'-)./0122)3).40222
   *+$,')5'&6$7'(-)




https://www.rockislandauction.com/detail/82/519/street-sweeper-12-gauge-shotgun                    Page 1 of 2
"Street Sweeper" 12 Gauge Shotgun | Rock Island Auction                                                5/19/23, 2:20 PM
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 34 of 48

     DETAILS          PAYMENT           TERMS             SHIPPING

      !"#$%"&'$()(*!"#$%%#!"&%%'%$                         :');<=5)>6*!;<==.
      !+,)-*!"#$%%#(&%%'%$                                 :');<:#')()6'*!>%$:!?+#,-%
      ./0)*!)%(#$*+#,-%!)%-,+%                             8)(5"-<?$;@)(*!
      1"$2)*!./                                            A"'"-+2<B"2)*!;<@
      3"(()-*!.0!,1+2!$3*14                                A-"66*!A86((!BBB
      45#567*!56##%!786+9
      1(50*!'38:5%$
      8'+&9*!5%#68
      C)6&(50'5+#*
      C$,D,1688:!4%(,D1%4!7:!E,8#31!FG!H689%$!,1!.I0.J!,#!&6(!561*K6+#*$%4!,1!?K$,+6!614!(384!6(!#2%!?$5(%8
      "#$,9%$!614!*(%4!7:!#2%!L,5767&%61!?$5:J!614!31!6!8,5,#%4!76(,(!7:!#2%!B($6%8,!?$5:G!B1!.I0=J!,#!&6(
      4%#%$5,1%4!7:!#2%!M?NO!#3!26-%!13!('3$#,1D!-68*%!614!8,(#%4!6(!6!$%(#$,+#%4!(23#D*1G!N2,(!$%P*,$%4!688
      %Q65'8%(!#3!7%!$%D,(#%$%4G!O%6#*$%(!6!43*78%!6+#,31!#$,DD%$!614!('$,1D!8364%4!+:8,14%$G!N2,(!%Q65'8%
      ,(!31%!3K!#2%!86#%!'$34*+#,31!D*1(!*(,1D!#2%!A37$6:!4%(,D1G!R38:5%$!$%+%,-%$!&,#2!6!S7%$!3'#,+!(,D2#G
      N2%!76$$%8!,(!S##%4!&,#2!6!'%$K3$6#%4!2%6#!(2,%84!614!+865'T31!U6(2!2,4%$G!B#!26(!6!K384,1D!(23*84%$
      (#3+9!&,#2!6!$,77%4!K3$&6$4!D$,'G!N2%!K$31#!3K!#2%!4$*5!56D6V,1%!53*1#,1D!'86#%!,(!56$9%4!W"X"G
      BYAGX?NZ![?GX""X./![?GW!673-%!#2%!&,14,1D!9%:G!B1+8*4%(!61!3$,D,168!"#$%%#!"&%%'%$!561*68J!61!%Q#$6
      2%6#!(2,%84X%\%+#3$!$34!23*(,1DJ!614!6!+61-6(!(8,1DG
      D"'5#2<C)E#5'5+#*
      ]Q+%88%1#J!$%#6,1(!I<^!'8*(!3K!#2%!3$,D,168!56##%!786+9!S1,(2!&,#2!(35%!(+6##%$%4!8,D2#!26148,1D
      56$9(G!N2%!D$,'(!6$%!68(3!%Q+%88%1#!&,#2!318:!#2%!(8,D2#%(#!26148,1D!56$9(G!_%+261,+688:!%Q+%88%1#G
      YCN]`!N2,(!)%(#$*+#,-%!)%-,+%!,(!6!Y6#,3168!O,$%6$5(!?+#!aYO?bJ!K*88:!#$61(K%$678%!A86((!;J!&2,+2!,(
      $%D,(#%$%4!&,#2!#2%!M*$%6*!3K!?8+3238J!N376++3J!O,$%6$5(!614!]Q'83(,-%(J!aM?NO]b!*14%$!#2%
      '$3-,(,31(!3K!.0!cG"GAG!A26'#%$!==!614!/@!AOF!'6$#!=@0G




https://www.rockislandauction.com/detail/82/519/street-sweeper-12-gauge-shotgun                              Page 2 of 2
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                                                                                                            5/19/23, 2:16 PM
                                     Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 35 of 48


 SEARCH TERM
                                                                              12 gauge street sweeper                                             $             Login
                                                                                                                                                         % Advanced

 (/)                                                                                                                                                             (https://www.gunsamerica.com/Login.aspx)
                                                                                                                                               (/AdvancedSearch.htm)
12 gauge street sweeper              GO
                                                                                                                                                                 Register
                                                                                                                                                                 (/administration/user/Register.aspx)
 CATEGORY
                                                                                                                                                                 &     Cart (/Listings/Common/Cart.aspx)
Shotguns (3533)     >
 Rifles (/rifles.htm)
 Connecticut      (Gala...Pistols >
                           (458) (/pistols.htm)    Shotguns (/shotguns.htm)      Tactical (/tactical.htm)   Revolvers (/revolvers.htm)   Accessories (/Search/Category/2/4/Non-Guns.htm)

 Ammo    Shotguns (311) >
 A Misc(/Search/Category/796/Non-Guns/Ammunition.htm)              Browse Categories (/BrowseSpecificCategory/Parent/Guns/ViewAll.aspx)
  Winchester Shotgu... (304)         >
 # Buying (/Administration/User/Dashboard.aspx)           # Selling (/Administration/Listings/PostListing/SelectCategory.aspx)
  ! Show more
 ' Help (https://help.gunsamerica.com/)           News & Reviews (https://www.gunsamerica.com/digest/)        #HUNT365 (/digest/hunt365/)
Non-Guns (983) >
Home (/Default.htm) >> Browse All (/BrowseSpecificCategory/Parent/Guns/ViewAll.aspx) >>
 Ammunition (280) >

Search   (273) > (/Search.htm?NS=0&Keyword=12+gauge+street+sweeper) >> Login To Save This Search (/Login.aspx)
 ArcheryResults

  Shotgun Sports (107)       >
  ! Show more

Pistols (170)   >
  A Misc Pistols (23)    >
  Taurus Pistols (13)    >
  Sig - Sauer/Sigar... (10)      >
  ! Show more

Hunting (61)    >

" Show All Categories

 REFINE SEARCH


LISTING TYPE

  All Types (1000+)
  Auction (38)
  Classified Ad (1000+)

SEARCH FILTERS

   Search Full Text of
Listings
   Show Only Guns
   Show Only with Pictures
   Show Only Non-Guns

LISTING DETAILS

Posted Within All
# MIN                MAX
FFL Status:
 All Sellers
Limit Caliber:
 All Calibers
Limit Condition:
 Condition at least...




https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                                                                                                      Page 1 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                                                                5/19/23, 2:16 PM
                            Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 36 of 48
( LOCALIZE

Zip Code:

Radius:
Limit to State: All

          Refine Search




(https://www.mossberg.com/firearms/handguns.html?
utm_source=GunsAmerica&utm_medium=MC2_1000x200&utm_campaign=January2023&utm_term=MC2&utm_content=MC2+GunsAmerica+January2023)



  ,       Guns Near Me                                                                   Show All      +        (https://www.mossberg.com/firearms/handguns.html?
                                                                                                                utm_source=GunsAmerica&utm_medium=MC2_300x850&ut


  12 gauge street sweeper For Sale

 Best match                    30 / Page

1000+ Listings Found      PAGE 1 OF 159    1   2 (/Search.htm?Keyword=12+gauge+street+sweeper&pagenum=2)    3
(/Search.htm?Keyword=12+gauge+street+sweeper&pagenum=3)       ... 159 (/Search.htm?
Keyword=12+gauge+street+sweeper&pagenum=159)        - (/Search.htm?
Keyword=12+gauge+street+sweeper&pagenum=2)

  9 Image(s)                    Street Sweeper 12ga 2 34" 18" wbox Class III (/999804399/Street-Sweeper-
                                12ga-2-34-18-wbox-Class-III.htm)
                                GUN #: 999804399
                                SELLER: First Stop Gun () FFL) First Stop Gun
                                (/Search/Lister/3310/First_Stop_Gun) () FFL)
                                GA SALES: 14870

                                $3,495.00
                                 Full Details (/999804399/Street-Sweeper-12ga-2-34-18-wbox-Class-III.htm?
  (/999804399/Street-            isPartner=false)
  Sweeper-12ga-2-34-18-
  wbox-Class-III.htm)            More from this Seller (/Search/Lister/3310/First_Stop_Gun)


  5 Image(s)                    Remington 870 TACTICAL 12-Gauge Shotgun, 18" Barrel w Bead Sights,
                                Excellent Condition (/940858672/Remington-870-TACTICAL-12-Gauge-
                                Shotgun-18-Barrel-w-Bead-Sights-Excellent-Condition.htm)
                                GUN #: 940858672
                                SELLER: D Street Gunsmithing () FFL) D Street Gunsmithing () FFL)               (https://spr-ar.com/r/5303)
                                GA SALES: 344

                                $599.00 *
                              Full Details (/940858672/Remington-870-TACTICAL-12-Gauge-Shotgun-18-
  (/940858672/Remington- Barrel-w-Bead-Sights-Excellent-Condition.htm?isPartner=false)
  870-TACTICAL-12-
  Gauge-Shotgun-18-
                       (https://www.mossberg.com/firearms/handguns.html?
  Barrel-w-Bead-Sights-
utm_source=GunsAmerica&utm_medium=MC2_690x150&utm_campaign=January2023&utm_term=MC2&utm_content=MC2+GunsAmerica+January2023)
  Excellent-Condition.htm)




https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                                                         Page 2 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                      5/19/23, 2:16 PM
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 37 of 48

  1 Image(s)                Used New England Firearms 20-gauge Single-Shot Shotgun, Break Action
                            (/959263264/Used-New-England-Firearms-20-gauge-Single-Shot-Shotgun-
                            Break-Action.htm)
                            GUN #: 959263264
                            SELLER: D Street Gunsmithing () FFL) D Street Gunsmithing () FFL)
                            GA SALES: 344

                            $335.00 *
                         Full Details (/959263264/Used-New-England-Firearms-20-gauge-Single-
  (/959263264/Used-      Shot-Shotgun-Break-Action.htm?isPartner=false)
  New-England-Firearms-
  20-gauge-Single-Shot-
   5 Image(s)
  Shotgun-Break-        Remington 870 POLICE MAGNUM 12-Gauge Shotgun, 18" Barrel w Rifle
                        Sights, Knoxx Adjustable Stock... (/900890654/Remington-870-POLICE-
  Action.htm)
                        MAGNUM-12-Gauge-Shotgun-18-Barrel-w-Rifle-Sights-Knoxx-Adjustable-
                        Stock-w-Grip-Police-Trade-In.htm)
                            GUN #: 900890654
                            SELLER: D Street Gunsmithing () FFL) D Street Gunsmithing () FFL)
                            GA SALES: 344

                            $825.00 *
  (/900890654/Remington- Full Details (/900890654/Remington-870-POLICE-MAGNUM-12-Gauge-
  870-POLICE-MAGNUM- Shotgun-18-Barrel-w-Rifle-Sights-Knoxx-Adjustable-Stock-w-Grip-Police-
  12-Gauge-Shotgun-18-    Trade-In.htm?isPartner=false)
  Barrel-w-Rifle-Sights-
  Knoxx-Adjustable-
   1 Image(s)            Used H&R 20-gauge Single-Shot Shotgun, Wood Stocks (/970813743/Used-H-
  Stock-w-Grip-Police-
                         R-20-gauge-Single-Shot-Shotgun-Wood-Stocks.htm)
  Trade-In.htm)
                            GUN #: 970813743
                            SELLER: D Street Gunsmithing () FFL) D Street Gunsmithing () FFL)
                            GA SALES: 344

                            $335.00 *
                              Full Details (/970813743/Used-H-R-20-gauge-Single-Shot-Shotgun-Wood-
                              Stocks.htm?isPartner=false)
  (/970813743/Used-H-
  R-20-gauge-Single-
  Shot-Shotgun-Wood-
  Stocks.htm)




  1 Image(s)                Remington 870 12 gauge (/998267444/Remington-870-12-gauge.htm)
                            GUN #: 998267444 SELLER: Jake G Jake G

                            $350.00
                              Full Details (/998267444/Remington-870-12-gauge.htm?isPartner=false)




  (/998267444/Remington-
  870-12-gauge.htm)




https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                               Page 3 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                       5/19/23, 2:16 PM
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 38 of 48

  1 Image(s)                US GI MINE SWEEPER ** $299.00 WITH FREE SHIPPING!!!! CREDIT CARD
                            SAME AS CASH!!!! (/968030124/US-GI-MINE-SWEEPER--299-00-WITH-
                            FREE-SHIPPING--CREDIT-CARD-SAME-AS-CAS.htm)
                            GUN #: 968030124
                            SELLER: Victor Reid Victor Reid (/Search/Lister/574/Victor_Reid)
                            GA SALES: 1665

                            $299.00
                              Full Details (/968030124/US-GI-MINE-SWEEPER--299-00-WITH-FREE-
  (/968030124/US-GI-          SHIPPING--CREDIT-CARD-SAME-AS-CAS.htm?isPartner=false)
  MINE-SWEEPER--299-
  00-WITH-FREE-               More from this Seller (/Search/Lister/574/Victor_Reid)
  SHIPPING--CREDIT-
  CARD-SAME-AS-
   4 Image(s)               AH Fox Model C 12 Gauge (/935230670/AH-Fox-Model-C-12-Gauge.htm)
  CAS.htm)
                            GUN #: 935230670
                            SELLER: Shooting Investments () FFL) Shooting Investments () FFL)

                            $3,799.00
                              Full Details (/935230670/AH-Fox-Model-C-12-Gauge.htm?isPartner=false)


  5 Image(s)                Baker Batavia Leader 12 gauge ss (/951093294/Baker-Batavia-Leader-12-
  (/935230670/AH-Fox-       gauge-ss.htm)
  Model-C-12-
                            GUN #: 951093294 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)
  Gauge.htm)
                            $1,200.00
                              Full Details (/951093294/Baker-Batavia-Leader-12-gauge-ss.htm?
                              isPartner=false)

  (/951093294/Baker-
   4 Image(s)               AH Fox Model B 12 Gauge (/964510255/AH-Fox-Model-B-12-Gauge.htm)
  Batavia-Leader-12-
                            GUN #: 964510255
  gauge-ss.htm)             SELLER: Shooting Investments () FFL) Shooting Investments () FFL)

                            $2,999.00
                              Full Details (/964510255/AH-Fox-Model-B-12-Gauge.htm?isPartner=false)


   4 Image(s)           Fox Model A 12 Gauge receiver (/968167274/Fox-Model-A-12-Gauge-
  (/964510255/AH-Fox-   receiver.htm)
  Model-B-12-Gauge.htm) GUN #: 968167274
                            SELLER: Shooting Investments () FFL) Shooting Investments () FFL)

                            $149.00
                              Full Details (/968167274/Fox-Model-A-12-Gauge-receiver.htm?
                              isPartner=false)
  (/968167274/Fox-
  Model-A-12-Gauge-        (https://www.sigsauer.com/https://www.sigsauer.com/p320-axg-
  receiver.htm)                       legion.html?
utm_source=Guns_America&utm_medium=banner&utm_campaign=P320_AXG_LEGION&utm_id=2305_OSG?
    utm_source=Guns+America&utm_medium=banner&utm_campaign=Pistol+Promo+2023)

  1 Image(s)                MOSSBERG 500 SECURITY 12 GAUGE 20 IN (/935614835/MOSSBERG-500-
                            SECURITY-12-GAUGE-20-I.htm)
                            GUN #: 935614835
                            SELLER: AJGUNSNSTUFF () FFL) AJGUNSNSTUFF () FFL)

                            $350.00
                              Full Details (/935614835/MOSSBERG-500-SECURITY-12-GAUGE-20-
                              I.htm?isPartner=false)



https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                Page 4 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                         5/19/23, 2:16 PM
                        Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 39 of 48
  1 Image(s)                Mossberg 395T bolt action shotgun 12 GAUGE (/903806608/Mossberg-395T-
                            bolt-action-shotgun-12-GAUGE.htm)
                            GUN #: 903806608
                            SELLER: AJGUNSNSTUFF () FFL) AJGUNSNSTUFF () FFL)

                            Click for Price
                              Full Details (/903806608/Mossberg-395T-bolt-action-shotgun-12-
                              GAUGE.htm?isPartner=false)
  (/903806608/Mossberg-
  395T-bolt-action-
   9 Image(s)           CZ 712 Target 12 Gauge 30" BBL (/911183749/CZ-712-Target-12-Gauge-30-
  shotgun-12-           BBL.htm)
  GAUGE.htm)            GUN #: 911183749
                            SELLER: FMZGUNS () FFL) FMZGUNS (/Search/Lister/164643/FMZGUNS) ()
                            FFL)
                            GA SALES: 2319

                            $700.00 *
                              Full Details (/911183749/CZ-712-Target-12-Gauge-30-BBL.htm?
  (/911183749/CZ-712-         isPartner=false)
  Target-12-Gauge-30-
                              More from this Seller (/Search/Lister/164643/FMZGUNS)
  BBL.htm)


  12 Image(s)               Mossberg 590 Shockwave 12 Gauge (50659) (/913043404/Mossberg-590-
                            Shockwave-12-Gauge-5065.htm)
                            GUN #: 913043404
                            SELLER: FMZGUNS () FFL) FMZGUNS (/Search/Lister/164643/FMZGUNS) ()
                            FFL)
                            GA SALES: 2319

                            $375.00 *
                              Full Details (/913043404/Mossberg-590-Shockwave-12-Gauge-5065.htm?
  (/913043404/Mossberg-       isPartner=false)
  590-Shockwave-12-
                              More from this Seller (/Search/Lister/164643/FMZGUNS)
  Gauge-5065.htm)

  12 Image(s)               August Schuler OU 12 Gauge (/959725467/August-Schuler-OU-12-Gauge.htm)
                            GUN #: 959725467
                            SELLER: FMZGUNS () FFL) FMZGUNS (/Search/Lister/164643/FMZGUNS) ()
                            FFL)
                            GA SALES: 2319

                            $2,000.00 *
                              Full Details (/959725467/August-Schuler-OU-12-Gauge.htm?
                              isPartner=false)
  (/959725467/August-
  Schuler-OU-12-              More from this Seller (/Search/Lister/164643/FMZGUNS)
  Gauge.htm)
  7 Image(s)                A.H. Fox Early A grade 12 gauge 30” (/920369493/A-H-Fox-Early-A-grade-12-
                            gauge-3.htm)
                            GUN #: 920369493
                            SELLER: HunterOneTrigger () FFL) HunterOneTrigger () FFL)

                            $450.00
                              Full Details (/920369493/A-H-Fox-Early-A-grade-12-gauge-3.htm?
                              isPartner=false)
  (/920369493/A-H-Fox-
  Early-A-grade-12-
  gauge-3.htm)




https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                  Page 5 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                       5/19/23, 2:16 PM
                          Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 40 of 48

  1 Image(s)                 Remington 1100 12 Gauge (/962131453/Remington-1100-12-Gauge.htm)
                             GUN #: 962131453 SELLER: Ron57066 Ron57066

                             $645.00
                              Full Details (/962131453/Remington-1100-12-Gauge.htm?isPartner=false)


  Four  Peaks 12 Gauge
  1 Image(s)                 Four Peaks 12 Gauge (/929744828/Four-Peaks-12-Gauge.htm)

  (/962131453/Remington- GUN #: 929744828
                         SELLER: CC Firearms () FFL) CC Firearms
  1100-12-Gauge.htm)     (/Search/Lister/253158/CC_Firearms) () FFL)

                             $165.00
                              Full Details (/929744828/Four-Peaks-12-Gauge.htm?isPartner=false)

                              More from this Seller (/Search/Lister/253158/CC_Firearms)
  (/929744828/Four-
  Peaks-12-Gauge.htm)
  Fox   SP 12 gauge s/s
   5 Image(s)                Fox SP 12 gauge s/s (/986570355/Fox-SP-12-gauge-s-s.htm)
                             GUN #: 986570355 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)

                             $1,995.00
                              Full Details (/986570355/Fox-SP-12-gauge-s-s.htm?isPartner=false)


  5 Image(s)                 Lefever DS 12 gauge s/s shotgun (/973918169/Lefever-DS-12-gauge-s-s-
  (/986570355/Fox-SP-        shotgun.htm)
  12-gauge-s-s.htm)          GUN #: 973918169 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)

                             $1,250.00
                              Full Details (/973918169/Lefever-DS-12-gauge-s-s-shotgun.htm?
                              isPartner=false)

  (/973918169/Lefever-
   5 Image(s)                AYA Model N2 12 gauge Spanish shotgun (/983456949/AYA-Model-N2-12-
  DS-12-gauge-s-s-           gauge-Spanish-shotgun.htm)
  shotgun.htm)
                             GUN #: 983456949 SELLER: Jaime Conti Jaime Conti

                             $4,500.00
                              Full Details (/983456949/AYA-Model-N2-12-gauge-Spanish-shotgun.htm?
                              isPartner=false)

  (/983456949/AYA-
   4 Image(s)                Marlin Goose Gun Model 55 12 Gauge (/918021040/Marlin-Goose-Gun-Model-
  Model-N2-12-gauge-         55-12-Gaug.htm)
  Spanish-shotgun.htm)
                             GUN #: 918021040 SELLER: B AND B () FFL) B AND B () FFL)
                             GA SALES: 1910

                             $450.00
                              Full Details (/918021040/Marlin-Goose-Gun-Model-55-12-Gaug.htm?
                              isPartner=false)
  (/918021040/Marlin-
  Goose-Gun-Model-55-
   3 Image(s)                Arrieta Shotgun 12 gauge SBS Spanish (/951813847/Arrieta-Shotgun-12-
  12-Gaug.htm)               gauge-SBS-Spanish.htm)
                             GUN #: 951813847 SELLER: Jaime Conti Jaime Conti

                             $2,300.00
                              Full Details (/951813847/Arrieta-Shotgun-12-gauge-SBS-Spanish.htm?
                              isPartner=false)

  (/951813847/Arrieta-


https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                Page 6 of 8
12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                               5/19/23, 2:16 PM
                         Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 41 of 48

  5 Image(s)                 Lefever Model H 12 gauge s/s (/927674918/Lefever-Model-H-12-gauge-s-s.htm)
                             GUN #: 927674918 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)

                             $950.00
                               Full Details (/927674918/Lefever-Model-H-12-gauge-s-s.htm?
                               isPartner=false)


  5 Image(s)                 A.H. Fox Sterlingworth 12 gauge s/s (/937798172/A-H-Fox-Sterlingworth-12-
  (/927674918/Lefever-       gauge-s-s.htm)
  Model-H-12-gauge-s-
                             GUN #: 937798172 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)
  s.htm)
                             $850.00
                               Full Details (/937798172/A-H-Fox-Sterlingworth-12-gauge-s-s.htm?
                               isPartner=false)

  (/937798172/A-H-Fox-
   1 Image(s)             Browning Silver 12 Gauge Vintage Tan (/986080592/Browning-Silver-12-Gauge-
  Sterlingworth-12-gauge- Vintage-Tan.htm)
  s-s.htm)
                             GUN #: 986080592 SELLER: ftl1951 ftl1951

                             $1,025.00
                               Full Details (/986080592/Browning-Silver-12-Gauge-Vintage-Tan.htm?
                               isPartner=false)

  (/986080592/Browning-
   1 Image(s)           Playfair BLE 12 gauge shotgun S/S (/936401269/Playfair-BLE-12-gauge-
  Silver-12-Gauge-      shotgun-S-S.htm)
  Vintage-Tan.htm)
                             GUN #: 936401269 SELLER: GulfCoastGuns () FFL) GulfCoastGuns () FFL)

                             $1,250.00
                               Full Details (/936401269/Playfair-BLE-12-gauge-shotgun-S-S.htm?
                               isPartner=false)

  (/936401269/Playfair-
   10 Image(s)          A10 Platinum - 12 Gauge Shotgun With 28” Barrels (/957378949/A10-Platinum-
  BLE-12-gauge-shotgun- 12-Gauge-Shotgun-With-28-Barrels.htm)
  S-S.htm)
                             GUN #: 957378949
                             SELLER: StandardMfgCo () FFL) StandardMfgCo () FFL) GA SALES: 216

                             $23,950.00 *
                               Full Details (/957378949/A10-Platinum-12-Gauge-Shotgun-With-28-
                               Barrels.htm?isPartner=false)
  (/957378949/A10-
  Platinum-12-Gauge-
   10 Image(s)               A10 Platinum - 12 Gauge Shotgun With 28” Barrels (/932552867/A10-Platinum-
  Shotgun-With-28-           12-Gauge-Shotgun-With-28-Barrels.htm)
  Barrels.htm)               GUN #: 932552867
                             SELLER: StandardMfgCo () FFL) StandardMfgCo () FFL) GA SALES: 216

                             $24,100.00 *
                               Full Details (/932552867/A10-Platinum-12-Gauge-Shotgun-With-28-
                               Barrels.htm?isPartner=false)
  (/932552867/A10-
 Platinum-12-Gauge-
1000+ Listings Found PAGE   1 OF 159   1   2 (/Search.htm?Keyword=12+gauge+street+sweeper&pagenum=2)      3
   Shotgun-With-28-
(/Search.htm?Keyword=12+gauge+street+sweeper&pagenum=3) ... 159 (/Search.htm?
   Barrels.htm)
Keyword=12+gauge+street+sweeper&pagenum=159) - (/Search.htm?
Keyword=12+gauge+street+sweeper&pagenum=2)

Lc | 765.6698ms|989|1




https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                        Page 7 of 8
     12 gauge street sweeper for sale on GunsAmerica. Buy a 12 ga...                                                                                       5/19/23, 2:16 PM
                                Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 42 of 48
     BUYER LINKS                             SELLER LINKS                              DEALER LINKS                               HELPFUL LINKS

       Buy Guns (/Login.aspx)                 Sell Guns                               Create a Website                             Help
                                              (/Administration/Listings/PostListing/SelectCategory.aspx)
                                                                                      (/LiveStoreFronts/)                          (https://help.gunsamerica.com/)
       Order History
       (/Administration/Buying/MyCheckout.aspx) My Seller Details                       (/Administration/User/RegistrationComplete.aspx)
                                                                                                                              Auctions Ending Soon
                                                (/Administration/User/ListerDetails.aspx)                                     (/Auctions/)
       Upgrade My Account                                                               Stocking Dealer Services
       (/MembershipLevel.aspx)                  Selling Fees (/fees.aspx)               (/stockingdealers.htm)                Report a BUG
                                                                                                                              (https://help.gunsamerica.com/contact/)
       Get Verified                             Selling Terms & Conditions
       (/Administration/User/VerifyIdentity.aspx)(/SellerTerms.aspx)                                                          Terms & Conditions
                                                                                                                              (/termsandconditions.aspx)
       FFL Search (/FFLSearch.htm)
                                                                                                                              Privacy Policy
       Browse All Categories                                                                                                  (https://help.gunsamerica.com/kb/privacy-
       (/BrowseSpecificCategory/Parent/Guns/ViewAll.aspx)                                                                     policy/)


                                                                                                                   #HUNT365




     © 1997-2023 GunsAmerica.com LLC All                                                       / (//www.youtube.com/user/GunsAmerica) . (/XMLFeeds.htm)
     rights Reserved.                                                                                                                  0 (//twitter.com/GunsAmerica)

                                                                                                                              1 (//www.facebook.com/gunsamerica)

                                    Email                                                   Subscribe        I want to receive FREE Gun Giveaways, Training, & Bonuses from
                                                                                                          the USCCA

ps://www.gunsamerica.com/digest/)   I want to receive FREE Gun Giveaways, Training, & Bonuses from the USCCA




                                                                                                                   (https://www.gunsamerica.com/hunt365)




     https://www.gunsamerica.com/s/12%20gauge%20street%20sweeper                                                                                                 Page 8 of 8
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 43 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 44 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 45 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 46 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 47 of 48
Case 1:23-cr-00123-SAG Document 20-7 Filed 05/31/23 Page 48 of 48
